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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,

                                                      Case No. 08-CR-20601
vs.                                                   HON. GEORGE CARAM STEEH

BRIAN OSBURN (D-1),

                Defendant.
_____________________________/

             ORDER DENYING DEFENDANT'S MOTION FOR
  EXCULPATORY EVIDENCE AND RULE 16 DISCOVERY MATERIALS [DOC. 178]

      Defendant moves for pre-trial disclosure of exculpatory evidence discoverable

under Fed. R. Civ. P. 16, Brady v. Maryland, 373 U.S. 83 (1963) and the Jencks Act.

Oral argument would not significantly aid the decisional process. Pursuant to E.D.

Mich. Local R. 7.1(e)(2), it is ORDERED that the motions be resolved without oral

argument.

      In response to defendant’s motion, the Government has recognized its duty and

willingness to comply with Rule 16, and has stated that it will produce Jencks Act and

Brady material as required. The court is persuaded that, to date, the Government has

complied with its duties of disclosure under Brady and the Jencks Act. Accordingly,

      Defendant's motion for pre-trial disclosure is hereby DENIED as moot.

      SO ORDERED.

Dated: September 1, 2009
                                         S/George Caram Steeh
                                         GEORGE CARAM STEEH
                                         UNITED STATES DISTRICT JUDGE
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                               CERTIFICATE OF SERVICE

                Copies of this Order were served upon attorneys of record on
                  September 1, 2009, by electronic and/or ordinary mail.

                                   S/Josephine Chaffee
                                       Deputy Clerk




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